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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER RONEY, :
Petitioner : CIVIL ACTION

¥v. : No. 14-2083
SECRETARY JOHN E. WETZEL et al., :
Respondents : THIS IS A CAPITAL CASE

ORDER

AND NOW, this L5H ot August, 2023, upon consideration of Mr. Roney’s unopposed motion
to stay and hold these proceedings in abeyance pending the exhaustion of state court remedies (Doc. No.
147), it is hereby ORDERED that the motion is GRANTED. The Clerk of Court shall place this matter

in suspense pending further order of this court. Mr. Roney is further ORDERED to notify this Court within

thirty (30) days of termination of state court proceedings.

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